              Case 19-12506-whd                   Doc 1     Filed 12/13/19 Entered 12/13/19 15:16:05                               Desc Main
                                                                                                                                           12/13/19 3:14PM
                                                            Document     Page 1 of 62
Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF GEORGIA (ALL DIVISIONS)

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                My Kidz Dentist PC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1741 Newnan Crossing Blvd
                                  Newnan, GA 30265
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Coweta                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor
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                                                                                        62 number (if known)
          My Kidz Dentist PC
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                          Case number
                                                  District                                When                          Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     See Attachment                                            Relationship
                                                  District                                When                         Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor
                                                              Document     Page 3 ofCase
                                                                                     62 number (if known)
         My Kidz Dentist PC
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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          My Kidz Dentist PC
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      December 13, 2019
                                                  MM / DD / YYYY


                             X   /s/ Dr. Lona Bibbs-Walker                                               Dr. Lona Bibbs-Walker
                                 Signature of authorized representative of debtor                        Printed name

                                 Title




18. Signature of attorney    X   /s/ Ian M. Falcone                                                       Date December 13, 2019
                                 Signature of attorney for debtor                                              MM / DD / YYYY

                                 Ian M. Falcone 254470
                                 Printed name

                                 The Falcone Law Firm, P.C.
                                 Firm name

                                 363 Lawrence Street
                                 Marietta, GA 30060
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (770) 426-9359                Email address      attorneys@falconefirm.com

                                 254470 GA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
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                                                                                  62 number (if known)
           My Kidz Dentist PC
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF GEORGIA (ALL DIVISIONS)

Case number (if known)                                                    Chapter     11
                                                                                                                Check if this an
                                                                                                                amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     My Kidz Dentist of Carrollton                                            Relationship to you     Affiliate
District   Northern District of GA- NEWNAN            When     12/13/19             Case number, if known
Debtor     My Kidz Dentist of Fayetteville                                          Relationship to you     Affiliate
District   Nothern District of GA-NEWNAN              When     12/13/19             Case number, if known




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 5
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 Fill in this information to identify the case:

 Debtor name         My Kidz Dentist PC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA (ALL DIVISIONS)

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          December 13, 2019                       X /s/ Dr. Lona Bibbs-Walker
                                                                       Signature of individual signing on behalf of debtor

                                                                       Dr. Lona Bibbs-Walker
                                                                       Printed name


                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name My Kidz Dentist PC
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF                                                                                         Check if this is an
                                                GEORGIA (ALL DIVISIONS)
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Avesis                                                          Medicaid                                                                                               $216,184.00
 c/o Steve                                                       Overpayment
 Maniloff/Montgomer
 y
 1735 Market Street
 Philadelphia, PA
 19103
 Axos Bank                                                       15th Priority                                      $254,227.00                        $0.00            $254,227.00
 9205 W. Russell Rd,                                             inventory, goods,
 Ste 400                                                         equipment,
 Las Vegas, NV                                                   accounts, ARs
 89148                                                           chattel paper,
                                                                 equipment,
                                                                 intangibles,
                                                                 furiture,
 Balboa Capital                                                  Business Loan                                                                                            $61,084.00
 PO BOx 15270
 Irvine, CA 92623
 CapFlow                                                         Business Loan                                                                                            $21,585.00
 2232 Brigham Street
 #5
 Brooklyn, NY 11229
 Chase Ink Business                                              Credit card                                                                                              $12,870.00
 Card                                                            purchases
 Card Services
 PO Box 15298
 Wilmington, DE
 19850
 Communtiy Bank of                                               3rd Prioirity                                      $553,786.00                        $0.00            $553,786.00
 Pickens Co                                                      Fixtures,
 15 Sammy McGhee                                                 equipment, ARs,
 Blvd                                                            inventory, chattel
 Jasper, GA 30143                                                paper, accounts,
                                                                 intangibles




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                 Case 19-12506-whd                         Doc 1       Filed 12/13/19 Entered 12/13/19 15:16:05                                         Desc Main
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 Debtor    My Kidz Dentist PC                                                                                 Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Communtiy Bank of                                               4th Priority                                       $491,970.00                        $0.00            $491,970.00
 Pickens Co                                                      Fixtures,
 15 Sammy McGhee                                                 equipment, ARs,
 Blvd                                                            chattel paper,
 Jasper, GA 30143                                                intangibles
 Corporation Service                                             6th Priority                                        $21,585.00                        $0.00              $21,585.00
 Company                                                         Accounts,
 as representative                                               proceeds, chattel
 PO Box 2576                                                     paper, assets,
 Springfield, IL 62708                                           fixtures,intangible
                                                                 s,equipment,
                                                                 inventory
 IKUKA Capital                                                   Business Loan                                                                                            $29,980.00
 162 Elmora Ave
 Elizabeth, NJ 07202
 Live Oak Bank                                                   1st priority                                       $170,007.00                        $0.00            $170,007.00
 1741 Tiburon Drive                                              Inventory, ARs,
 Wilmington, NC                                                  Chattel Paper,
 28403                                                           intangibles,
                                                                 equipment,
                                                                 fixtures,
                                                                 negotiable
                                                                 instrumetns,
                                                                 machinery,
                                                                 proceeds
 Mr. Advance Capital                                             18th Priority                                       $37,035.00                        $0.00              $37,035.00
 LLC                                                             assets, accounts,
 116 Nassau Street,                                              ARs, chattel
 Ste 804                                                         paper, inventory,
 New York, NY 10038                                              equipment,
                                                                 intangibles
 Opportunity Fund                                                12th Priority                                       $44,678.00                        $0.00              $44,678.00
 Community Dev                                                   Equipment, ARs,
 111 W. Saint John                                               Accounts, chattel
 Street                                                          papter, negotiable
 San Jose, CA                                                    intruments,
 95113-1113                                                      allests, inventory
                                                                 intangibles,
                                                                 assets
 Patterson Dental                                                Supplier                                                                                                 $44,304.00
 1775 W. Oak
 Parkway #500
 Marietta, GA 30062
 Pawnee Leasing                                                  5th Priority      Disputed                          $15,813.00                        $0.00              $15,813.00
 Corp                                                            assets, chattel
 700 Centre Ave                                                  paper, accounts,
 Fort Collins, CO                                                secuity deposits,
 80528                                                           certain equipment




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    My Kidz Dentist PC                                                                                 Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Payroll Funding                                                 17th Priority                                       $36,923.00                        $0.00              $36,923.00
 Company                                                         accounts, goods,
 10785 W. Twain Ave,                                             intangibles
 Ste 200
 Las Vegas, NV
 89135
 PW Funding LLC                                                  14th Priority                                       $63,529.00                        $0.00              $63,529.00
 3300 Highlands                                                  Personal property,
 Pkwy, Ste 290                                                   accounts,contract
 Smyrna, GA 30082                                                s, chattel paper,
                                                                 insuranace
                                                                 receivables,
                                                                 intagibles,
                                                                 equipment,
                                                                 inventory,
 Stearns Bank NA                                                 Fixtures and                                        $95,953.00                        $0.00              $95,953.00
 500 13th Street                                                 equipment,
 Albany, MN 56307                                                Nomad Pro2
                                                                 introral xray,Dell
                                                                 Computers, Sexis
                                                                 sensor
                                                                 system,scaler,
                                                                 panoramix xray,
                                                                 sterilizer, imaging
                                                                 system, cleansor,
 Total Merchant                                                  Business Loan                                                                                            $31,722.92
 Resources
 377 Hoes Lane , Ste
 240
 Piscataway, NJ
 08854
 United Health Care                                              Services                                                                                                 $13,811.00
 All Savers
 PO Box 31375
 Salt Lake City, UT
 84131
 Viva Healthcare                                                 9th Priority                                       $476,000.00                        $0.00            $476,000.00
 Funding LLC                                                     assets, Ars,
 8981 Castner Drive,
 ste E
 El Paso, TX 79907




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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 Fill in this information to identify the case:

 Debtor name            My Kidz Dentist PC

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF GEORGIA (ALL DIVISIONS)

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        6,266,597.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        6,266,597.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        2,296,506.27


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           493,133.92


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           2,789,640.19




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         My Kidz Dentist PC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA (ALL DIVISIONS)

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Wells Fargo                                             Checking                        9628                                       $447.00




           3.2.     Suntrust (balance as of Nov 30, 2019                    Checking                        2296                                     $8,037.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                      $8,484.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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 Debtor         My Kidz Dentist PC                                                                    Case number (If known)
                Name


           11b. Over 90 days old:                               480,771.82      -                           345,658.82 =....                     $135,113.00
                                              face amount                               doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                                  $135,113.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last              Net book value of          Valuation method used    Current value of
                                                      physical inventory            debtor's interest          for current value        debtor's interest
                                                                                    (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           Dental supplies                            11/2019                                  Unknown                                            $17,000.00



 23.       Total of Part 5.                                                                                                                   $17,000.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                               Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                           page 2
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                Name


        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used    Current value of
                                                                              debtor's interest      for current value        debtor's interest
                                                                              (Where available)

 39.       Office furniture

 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Office equipment, computer equipment, dental
           equipment                                                                   Unknown                                          $50,000.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                            $50,000.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used    Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value        debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     2014 Chevy Traverse                                               Unknown       KBB                                $14,000.00


           47.2.     2015 Chevy Trax LS                                                Unknown       KBB                                $12,000.00


           47.3.     2015 Chevy Silverado                                              Unknown       KBB                                $30,000.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 3
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 51.        Total of Part 8.                                                                                                        $56,000.00
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used    Current value of
                                                                              debtor's interest      for current value        debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill
            Good Will of Business                                                      Unknown                                       $6,000,000.00



 66.        Total of Part 10.                                                                                                     $6,000,000.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 4
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        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                          page 5
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                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                              $8,484.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $135,113.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                               $17,000.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                          $50,000.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $56,000.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                              $6,000,000.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                         $6,266,597.00            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $6,266,597.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 6
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 Fill in this information to identify the case:

 Debtor name         My Kidz Dentist PC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA (ALL DIVISIONS)

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   Alfa Advance LLC                               Describe debtor's property that is subject to a lien                          $0.00                    $0.00
       Creditor's Name                                8th Priority
                                                      Recievables, inventory, equipment, accounts,
       31-10 37th Ave, Ste 202                        intangibles
       Long Island City, NY 11109
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       3/18/2019                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0897
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   Ally Financial                                 Describe debtor's property that is subject to a lien                   $16,998.00                $30,000.00
       Creditor's Name                                2015 Chevy Silverado
       PO Box 380901
       Minneapolis, MN 55438
       Creditor's mailing address                     Describe the lien
                                                      Car Loan
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       3933
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 15
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           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.3   Axos Bank                                      Describe debtor's property that is subject to a lien                     $254,227.00                 $0.00
       Creditor's Name                                15th Priority
                                                      inventory, goods, equipment, accounts, ARs
       9205 W. Russell Rd, Ste                        chattel paper, equipment, intangibles,
       400                                            furiture,
       Las Vegas, NV 89148
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       3/31/2019                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       9700
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       Communtiy Bank of
 2.4                                                                                                                           $553,786.00                 $0.00
       Pickens Co                                     Describe debtor's property that is subject to a lien
       Creditor's Name                                3rd Prioirity
                                                      Fixtures, equipment, ARs, inventory, chattel
       15 Sammy McGhee Blvd                           paper, accounts, intangibles
       Jasper, GA 30143
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       7/30/2015                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       8143
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       Communtiy Bank of
 2.5                                                                                                                           $491,970.00                 $0.00
       Pickens Co                                     Describe debtor's property that is subject to a lien
       Creditor's Name                                4th Priority
                                                      Fixtures, equipment, ARs, chattel paper,
       15 Sammy McGhee Blvd                           intangibles
       Jasper, GA 30143
       Creditor's mailing address                     Describe the lien
                                                      UCC-1

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 2 of 15
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              Name

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       7/30/2015                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       8144
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       Corporation Service
 2.6                                                                                                                              $0.00                 $0.00
       Company                                        Describe debtor's property that is subject to a lien
       Creditor's Name                                7th Priiority
       as representative                              Accounts, Chattel paper, ARs, intangibles,
       PO Box 2576                                    inventory, equipment.proceeds and products
       Springfield, IL 62708
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       10/25/2018                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       7798
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       Corporation Service
 2.7                                                                                                                           Unknown                  $0.00
       Company                                        Describe debtor's property that is subject to a lien
       Creditor's Name                                7th Prioriity
                                                      See also Legend Advanced
                                                      inventory, machinery, equipment, fixtures,
       as representative                              ARs, negotiable instruments, chattel paper,
       PO Box 2576                                    intangibles
       Springfield, IL 62708
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       6/27/2018                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0457
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 3 of 15
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 Debtor       My Kidz Dentist PC                                                                       Case number (if know)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       Corporation Service
 2.8                                                  Describe debtor's property that is subject to a lien                     $21,585.00                 $0.00
       Company
       Creditor's Name                                6th Priority
       as representative                              Accounts, proceeds, chattel paper, assets,
       PO Box 2576                                    fixtures,intangibles,equipment, inventory
       Springfield, IL 62708
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       7/19/2016                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0145
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       Corporation Service
 2.9                                                                                                                               $0.00                  $0.00
       Company                                        Describe debtor's property that is subject to a lien
       Creditor's Name                                2nd Priority
       as representative                              Proceeds, assets
       PO Box 2576
       Springfield, IL 62708
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       6/9/2015                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       6154
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 0     CT Corporation systems                         Describe debtor's property that is subject to a lien                         $0.00                  $0.00
       Creditor's Name                                16th Priority
       as representative                              assets, accounts, Ars, chattel paper,
       330 N. Brand Blvd, Ste 700                     equipment intangibles, inventory
       Glendale, CA 91203
       Creditor's mailing address                     Describe the lien
                                                      UCC-1

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 4 of 15
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              Name

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       8/26/2019                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       8196
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 1     De Lage Landen Financial                       Describe debtor's property that is subject to a lien                     $3,524.27                 $0.00
       Creditor's Name                                Equipment - Copier
       111 Old Eagle School Rd
       Wayne, PA 19087
       Creditor's mailing address                     Describe the lien
                                                      Equipment Loan
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       12/3/2018                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       8722
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 2     Dell Financial Services LLC                    Describe debtor's property that is subject to a lien                        $0.00                  $0.00
       Creditor's Name                                Computer Equipment
       MS-PS2DF-23 One Dell Way
       Round Rock, TX 78682
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       12/21/2018                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       8001
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.


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              Name



 2.1   Financial Pacific Leasing
 3     Inc                                            Describe debtor's property that is subject to a lien                        $0.00                 $0.00
       Creditor's Name                                Equipment and Proceeds
       PO Box 4568
       Federal Way, WA 98063
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       9/9/2014                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       6510
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1   General Electric Capital
 4     Corp                                           Describe debtor's property that is subject to a lien                     Unknown                  $0.00
       Creditor's Name                                Communications equipment
       1 Beacon Street
       Boston, MA 02108-3107
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       11/14/2017                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       1166
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1   General Electric Capital
 5     Corp                                           Describe debtor's property that is subject to a lien                     Unknown                  $0.00
       Creditor's Name                                communication equipment
       1 Beacon Street
       Boston, MA 02108-3107
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No


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 Debtor       My Kidz Dentist PC                                                                       Case number (if know)
              Name

       11/14/2007                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       1159
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1   Innovative Energy
 6     Solutions                                      Describe debtor's property that is subject to a lien                     Unknown                  $0.00
       Creditor's Name                                Equipment and Fixtures
       575 Anton Blvd, 12th Floor
       Costa Mesa, CA 92626-7169
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       4/26/2018                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       6520
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 7     Legend Advance Funding II                      Describe debtor's property that is subject to a lien                        $0.00                 $0.00
       Creditor's Name                                13th priority
                                                      ARs, accounts
       767 3rd Ave, 32 Floor
       New York, NY 10017
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0457
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 8     LiftForward, Inc                               Describe debtor's property that is subject to a lien                        $0.00                 $0.00



Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 7 of 15
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 Debtor       My Kidz Dentist PC                                                                       Case number (if know)
              Name

       Creditor's Name                                11th Priority
                                                      Assets, fixtures, accounts, chattel paper,
       261 Madison Ave                                equipment, intangibles
       New York, NY 10016
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       1/27/2016                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0225
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 9     Live Oak Bank                                  Describe debtor's property that is subject to a lien                     $170,007.00                 $0.00
       Creditor's Name                                1st priority
                                                      Inventory, ARs, Chattel Paper, intangibles,
                                                      equipment, fixtures, negotiable instrumetns,
       1741 Tiburon Drive                             machinery, proceeds
       Wilmington, NC 28403
       Creditor's mailing address                     Describe the lien
                                                      Business Loan
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       10/5/2015                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       0835
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2
 0     Mr. Advance Capital LLC                        Describe debtor's property that is subject to a lien                      $37,035.00                 $0.00
       Creditor's Name                                18th Priority
                                                      assets, accounts, ARs, chattel paper,
       116 Nassau Street, Ste 804                     inventory, equipment, intangibles
       New York, NY 10038
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       11/18/2019                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 8 of 15
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 Debtor       My Kidz Dentist PC                                                                       Case number (if know)
              Name

       1032
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   Opportunity Fund
 1     Community Dev                                  Describe debtor's property that is subject to a lien                     $44,678.00                 $0.00
       Creditor's Name                                12th Priority
                                                      Equipment, ARs, Accounts, chattel papter,
                                                      negotiable intruments, allests, inventory
       111 W. Saint John Street                       intangibles, assets
       San Jose, CA 95113-1113
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       5/1/2018                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       7197
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2
 2     Pawnee Leasing Corp                            Describe debtor's property that is subject to a lien                     $15,813.00                 $0.00
       Creditor's Name                                5th Priority
                                                      assets, chattel paper, accounts, secuity
       700 Centre Ave                                 deposits, certain equipment
       Fort Collins, CO 80528
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       9/10/2016                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       9835
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2
 3     Payroll Funding Company                        Describe debtor's property that is subject to a lien                     $36,923.00                 $0.00




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 Debtor       My Kidz Dentist PC                                                                       Case number (if know)
              Name

       Creditor's Name                                17th Priority
       10785 W. Twain Ave, Ste                        accounts, goods, intangibles
       200
       Las Vegas, NV 89135
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       10/29/2019                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       9838
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2
 4     PW Funding LLC                                 Describe debtor's property that is subject to a lien                     $63,529.00                 $0.00
       Creditor's Name                                14th Priority
                                                      Personal property, accounts,contracts,
       3300 Highlands Pkwy, Ste                       chattel paper, insuranace receivables,
       290                                            intagibles, equipment, inventory,
       Smyrna, GA 30082
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       5/2/2019                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       8666
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2
 5     Stearns Bank NA                                Describe debtor's property that is subject to a lien                     $95,953.00                 $0.00
       Creditor's Name                                Fixtures and equipment, Nomad Pro2 introral
                                                      xray,Dell Computers, Sexis sensor
                                                      system,scaler, panoramix xray, sterilizer,
       500 13th Street                                imaging system, cleansor,
       Albany, MN 56307
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       9/28/2018                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 10 of 15
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 Debtor       My Kidz Dentist PC                                                                       Case number (if know)
              Name

       Last 4 digits of account number
       0525
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   Viva Healthcare Funding
 6     LLC                                            Describe debtor's property that is subject to a lien                       Unknown                   $0.00
       Creditor's Name                                10th Priority
                                                      assets, ARs,
       8981 Castner Drive, ste E
       El Paso, TX 79907
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       3/19/2019                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       1106
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   Viva Healthcare Funding
 7     LLC                                            Describe debtor's property that is subject to a lien                     $476,000.00                 $0.00
       Creditor's Name                                9th Priority
                                                      assets, Ars,
       8981 Castner Drive, ste E
       El Paso, TX 79907
       Creditor's mailing address                     Describe the lien
                                                      UCC-1
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       3/19/2019                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       4632
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   Wells Fargo Dealer
 8     Services                                       Describe debtor's property that is subject to a lien                       $5,813.00          $14,000.00




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 Debtor       My Kidz Dentist PC                                                                       Case number (if know)
              Name

        Creditor's Name                               2014 Chevy Traverse
        PO Box 997517
        Sacramento, CA 95899
        Creditor's mailing address                    Describe the lien
                                                      Car Loan
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number
        3753
        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 2.2    Wells Fargo Dealer
 9      Services                                      Describe debtor's property that is subject to a lien                       $8,665.00           $12,000.00
        Creditor's Name                               2015 Chevy Trax LS
        PO Box 997517
        Sacramento, CA 95899
        Creditor's mailing address                    Describe the lien
                                                      Car Loan
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number
        8912
        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



                                                                                                                               $2,296,506.2
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                         7

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
         Capitol Services
         PO Box 1831                                                                                            Line   2.23
         Austin, TX 78767




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 Debtor       My Kidz Dentist PC                                                         Case number (if know)
              Name

        CSC
        801 Adial Stevenson Drive                                                               Line   2.6
        Springfield, IL 62703

        CSC
        801 Adial Stevenson Drive                                                               Line   2.7
        Springfield, IL 62703

        CSC
        801 Adial Stevenson Drive                                                               Line   2.8
        Springfield, IL 62703

        CSC
        801 Adial Stevenson Drive                                                               Line   2.18
        Springfield, IL 62703

        CSC
        801 Adial Stevenson Drive                                                               Line   2.25
        Springfield, IL 62703

        CSC
        801 Adial Stevenson Drive                                                               Line   2.9
        Springfield, IL 62703

        CSC
        801 Adial Stevenson Drive                                                               Line   2.19
        Springfield, IL 62703

        CSC
        801 Adial Stevenson Drive                                                               Line   2.20
        Springfield, IL 62703

        CSC
        801 Adial Stevenson Drive                                                               Line   2.3
        Springfield, IL 62703

        CT Lien Solutions
        PO Box 29071                                                                            Line   2.13
        Glendale, CA 91209-9071

        Hayden Kepner, Esq.
        Scroggins & Williamson                                                                  Line   2.26
        4401 Northside Pkwy, Ste 450
        Atlanta, GA 30327

        Hayden Kepner, Esq.
        Scroggins & Williamson                                                                  Line   2.27
        4401 Northside Pkwy, Ste 450
        Atlanta, GA 30327

        Jeffrey Schaefer
        Lease Direct                                                                            Line   2.11
        PO BOx 6980
        Wayne, PA 19087

        Kitchens Kelley Gaynes PC
        Glenridge Highlands One                                                                 Line   2.4
        5555 Glenridge Conn, Ste 800
        Atlanta, GA 30342




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 Debtor       My Kidz Dentist PC                                                         Case number (if know)
              Name

        Kitchens Kelley Gaynes PC
        Glenridge Highlands One                                                                 Line   2.5
        5555 Glenridge Conn, Ste 800
        Atlanta, GA 30342

        Lien Solutions
        PO Box 29071                                                                            Line   2.12
        Glendale, CA 91209-9071

        Lien Solutions
        PO Box 29071                                                                            Line   2.21
        Glendale, CA 91209-9071

        Lien Solutions
        PO Box 29071                                                                            Line   2.16
        Glendale, CA 91209-9071

        Lien Solutions
        PO Box 29071                                                                            Line   2.24
        Glendale, CA 91209-9071

        Lien Solutions
        PO Box 29071                                                                            Line   2.1
        Glendale, CA 91209-9071

        Lien Solutions
        PO Box 29071                                                                            Line   2.10
        Glendale, CA 91209-9071

        Lift Forward Inc
        180 Maiden Lane, 10th Floor                                                             Line   2.18
        New York, NY 10038

        Lynn Carroll, Esq.
        Building 1, Ste 400                                                                     Line   2.4
        101 Village Parkway
        Marietta, GA 30067

        Lynn Carroll, Esq.
        Building 1, Ste 400                                                                     Line   2.5
        101 Village Parkway
        Marietta, GA 30067

        Mark Good, Esq.
        7415 Elgeberry Street                                                                   Line   2.21
        Suite 102
        Gilroy, CA 95020

        MCA Recovery LLC
        Zachary Chsin                                                                           Line   2.20
        17 State Street, Ste 4000
        New York, NY 10004

        Melissa Lommel
        500 13th Street                                                                         Line   2.25
        PO BOx 750
        Albany, MN 56307

        Mike Marshall
        Viva Capital Funding                                                                    Line   2.26
        11427 Rojas Drive, ste A
        El Paso, TX 79936



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              Name

        Mike Marshall
        Viva Capital Funding                                                                    Line   2.27
        11427 Rojas Drive, ste A
        El Paso, TX 79936

        World Business Lending
        101 Hudson Street, 33rd Floor                                                           Line   2.3
        Jersey City, NJ 07302




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property               page 15 of 15
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 Fill in this information to identify the case:

 Debtor name         My Kidz Dentist PC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA (ALL DIVISIONS)

 Case number (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $436.00
           ADT Protection 1                                                     Contingent
           830 Franklin Court, Ste A                                            Unliquidated
           Marietta, GA 30067                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Services
           Last 4 digits of account number      9834
                                                                             Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,022.00
           Airgas                                                               Contingent
           2015 Vaughn Road, Bldg 400                                           Unliquidated
           Kennesaw, GA 30144                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Supplier
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $5,276.00
           Ansafone                                                             Contingent
           101 NE 2nd Street                                                    Unliquidated
           Ocala, FL 34470                                                      Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Services
           Last 4 digits of account number      3607
                                                                             Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $9,097.00
           Atlanta Dental                                                       Contingent
           1650 Satellite Blvd                                                  Unliquidated
           Duluth, GA 30097                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Supplier
           Last 4 digits of account number      4404
                                                                             Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 5
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              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $216,184.00
          Avesis                                                                Contingent
          c/o Steve Maniloff/Montgomery                                         Unliquidated
          1735 Market Street                                                    Disputed
          Philadelphia, PA 19103
                                                                             Basis for the claim:    Medicaid Overpayment
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $61,084.00
          Balboa Capital                                                        Contingent
          PO BOx 15270                                                          Unliquidated
          Irvine, CA 92623                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Loan
          Last 4 digits of account number       2421
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,683.00
          Bank of America                                                       Contingent
          PO Box 982234                                                         Unliquidated
          El Paso, TX 79998                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Credit card purchases
          Last 4 digits of account number       0134
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,003.00
          Bank of America                                                       Contingent
          PO Box 982234                                                         Unliquidated
          El Paso, TX 79998                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Credit card purchases
          Last 4 digits of account number       7606
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,011.00
          Blalock Heating and Air                                               Contingent
          111 Church Alley                                                      Unliquidated
          Brooks, GA 30205                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $21,585.00
          CapFlow                                                               Contingent
          2232 Brigham Street #5                                                Unliquidated
          Brooklyn, NY 11229                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,730.00
          Chase Ink Business Card                                               Contingent
          Card Services                                                         Unliquidated
          PO Box 15298                                                          Disputed
          Wilmington, DE 19850
                                                                             Basis for the claim:    Credit card purchases
          Date(s) debt was incurred
          Last 4 digits of account number       6147                         Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 2 of 5
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              Name

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $12,870.00
          Chase Ink Business Card                                               Contingent
          Card Services                                                         Unliquidated
          PO Box 15298                                                          Disputed
          Wilmington, DE 19850
                                                                             Basis for the claim:    Credit card purchases
          Date(s) debt was incurred
          Last 4 digits of account number       5909                         Is the claim subject to offset?     No       Yes


 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,019.00
          Cheng Crowns                                                          Contingent
          PO box 5001                                                           Unliquidated
          Exton, PA 19341                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $125.00
          Clark Pest Remedy                                                     Contingent
          3548 Jodeco Rd                                                        Unliquidated
          McDonough, GA 30253                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $8,896.00
          Darby Dental Supply                                                   Contingent
          300 Jericho Quadrangle Ll                                             Unliquidated
          Jericho, NY 11753                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $250.00
          Hammond Heating & Air                                                 Contingent
          3412 Galilee Rd                                                       Unliquidated
          Jacksonville, FL 32207                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,646.00
          Home Depot                                                            Contingent
          PO Box 182676                                                         Unliquidated
          Columbus, OH 43218                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Credit card purchases
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $29,980.00
          IKUKA Capital                                                         Contingent
          162 Elmora Ave                                                        Unliquidated
          Elizabeth, NJ 07202                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 3 of 5
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              Name

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,000.00
          LEAF Capital Funding LLC                                              Contingent
          1 Commerce Square                                                     Unliquidated
          2005 Market Street,                                                   Disputed
          Philadelphia, PA 19103
                                                                             Basis for the claim:    Business Loan
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,414.00
          NuLink                                                                Contingent
          2-A Jackosn Street                                                    Unliquidated
          Newnan, GA 30263                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Supplier
          Last 4 digits of account number       4935
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,429.00
          Ora Labs                                                              Contingent
          18685 E. Plaza Drive                                                  Unliquidated
          Parker, CO 80134                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $44,304.00
          Patterson Dental                                                      Contingent
          1775 W. Oak Parkway #500                                              Unliquidated
          Marietta, GA 30062                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,414.00
          Quench Water                                                          Contingent
          630 Allendale Rd, Ste 200                                             Unliquidated
          King of Prussia, PA 19406                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,142.00
          RPM Rewards LLC                                                       Contingent
          340 Youngs Cir                                                        Unliquidated
          Fayetteville, GA 30215                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Supplier
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $31,722.92
          Total Merchant Resources                                              Contingent
          377 Hoes Lane , Ste 240                                               Unliquidated
          Piscataway, NJ 08854                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 4 of 5
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              Name

 3.26      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $13,811.00
           United Health Care                                                   Contingent
           All Savers                                                           Unliquidated
           PO Box 31375                                                         Disputed
           Salt Lake City, UT 84131
                                                                             Basis for the claim:    Services
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                             0.00
 5b. Total claims from Part 2                                                                            5b.   +    $                       493,133.92

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                          493,133.92




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 5 of 5
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 Fill in this information to identify the case:

 Debtor name         My Kidz Dentist PC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA (ALL DIVISIONS)

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.        State what the contract or                   Has prepaid until
             lease is for and the nature of               10/2022
             the debtor's interest

                  State the term remaining                10/2022
                                                                                     Alliance Orthodontics
             List the contract number of any                                         1741 Newnan Crossing
                   government contract                                               Newnan, GA 30265


 2.2.        State what the contract or                   Future Receivables
             lease is for and the nature of               sale and purchase
             the debtor's interest                        agreement

                  State the term remaining                unknown
                                                                                     Mr. Advance Capital LLC
             List the contract number of any                                         116 Nassau Street, Ste 804
                   government contract                                               New York, NY 10038


 2.3.        State what the contract or                   Lease for Newnan
             lease is for and the nature of               premissis
             the debtor's interest

                  State the term remaining                5 years

             List the contract number of any                                         Newnan Associates LLC
                   government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         My Kidz Dentist PC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA (ALL DIVISIONS)

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:

    2.1      Lona                              193 Stanley Road                                   Legend Advance                    D   2.17
             Bibbs-Walker                      Fayetteville, GA 30214                             Funding II                        E/F
                                                                                                                                    G




    2.2      Lona                              193 Stanley Road                                   Viva Healthcare                   D   2.27
             Bibbs-Walker                      Fayetteville, GA 30214                             Funding LLC                       E/F
                                                                                                                                    G




    2.3      Lona                              193 Stanley Road                                   CT Corporation                    D   2.10
             Bibbs-Walker                      Fayetteville, GA 30214                             systems                           E/F
                                                                                                                                    G




    2.4      Lona                              193 Stanley Road                                   Wells Fargo Dealer                D   2.28
             Bibbs-Walker                      Fayetteville, GA 30214                             Services                          E/F
                                                                                                                                    G




    2.5      Lona                              193 Stanley Road                                   Wells Fargo Dealer                D   2.29
             Bibbs-Walker                      Fayetteville, GA 30214                             Services                          E/F
                                                                                                                                    G




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 3
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            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.6      Lona                              193 Stanley Road                                   Ally Financial            D   2.2
             Bibbs-Walker                      Fayetteville, GA 30214                                                       E/F
                                                                                                                            G




    2.7      My Dental Career                  193 Stanley Rd                                     Mr. Advance Capital       D   2.20
             & Staffing LL                     Fayetteville, GA 30214                             LLC                       E/F
                                                                                                                            G




    2.8      My Dental Career                  193 Stanley Rd                                     CT Corporation            D   2.10
             & Staffing LL                     Fayetteville, GA 30214                             systems                   E/F
                                                                                                                            G




    2.9      My Kidz Dentist                   Of Fayetteville                                    Corporation Service       D   2.6
                                               193 Stanley Rd                                     Company                   E/F
                                               Fayetteville, GA 30214
                                                                                                                            G




    2.10     My Kidz Dentist                   of Carrollton LLC                                  Corporation Service       D   2.6
                                               1124 N. Park Street, Ste 202                       Company                   E/F
                                               Carrollton, GA 30117
                                                                                                                            G




    2.11     My Kidz Dentist                   Of Fayetteville                                    Mr. Advance Capital       D   2.20
                                               193 Stanley Rd                                     LLC                       E/F
                                               Fayetteville, GA 30214
                                                                                                                            G




    2.12     My Kidz Dentist                   of Carrollton LLC                                  Mr. Advance Capital       D   2.20
                                               1124 N. Park Street, Ste 202                       LLC                       E/F
                                               Carrollton, GA 30117
                                                                                                                            G




Official Form 206H                                                            Schedule H: Your Codebtors                            Page 2 of 3
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            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.13     My Kidz Dentist                   Of Fayetteville                                    Viva Healthcare           D   2.26
                                               193 Stanley Rd                                     Funding LLC               E/F
                                               Fayetteville, GA 30214
                                                                                                                            G




    2.14     My Kidz Dentist                   Of Fayetteville                                    Pawnee Leasing            D   2.22
                                               193 Stanley Rd                                     Corp                      E/F
                                               Fayetteville, GA 30214
                                                                                                                            G




    2.15     My Kidz Dentist                   Of Fayetteville                                    Alfa Advance LLC          D   2.1
                                               193 Stanley Rd                                                               E/F
                                               Fayetteville, GA 30214
                                                                                                                            G




    2.16     My Kidz Dentist                   of Carrollton LLC                                  Alfa Advance LLC          D   2.1
                                               1124 N. Park Street, Ste 202                                                 E/F
                                               Carrollton, GA 30117
                                                                                                                            G




    2.17     My Kidz Dentist                   of Carrollton LLC                                  CT Corporation            D   2.10
                                               1124 N. Park Street, Ste 202                       systems                   E/F
                                               Carrollton, GA 30117
                                                                                                                            G




    2.18     My Kidz Dentist                   Of Fayetteville                                    IKUKA Capital             D
                                               193 Stanley Rd                                                               E/F       3.18
                                               Fayetteville, GA 30214
                                                                                                                            G




    2.19     My Kidz Dentist                   of Carrollton LLC                                  CapFlow                   D
                                               1124 N. Park Street, Ste 202                                                 E/F       3.10
                                               Carrollton, GA 30117
                                                                                                                            G




Official Form 206H                                                            Schedule H: Your Codebtors                              Page 3 of 3
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 Fill in this information to identify the case:

 Debtor name         My Kidz Dentist PC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA (ALL DIVISIONS)

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                             $1,987,549.00
       From 1/01/2019 to Filing Date                                                                        Operating a business
                                                                                                            (through September
                                                                                                   Other    30, 2019)


       For prior year:                                                                             Operating a business                             $3,736,526.00
       From 1/01/2018 to 12/31/2018
                                                                                                   Other


       For year before that:                                                                       Operating a business                             $2,293,154.00
       From 1/01/2017 to 12/31/2017
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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 Debtor       My Kidz Dentist PC                                                                        Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               Viva Healthcare Funding LLC                                 9/2019;                          $40,794.76                Secured debt
               8981 Castner Drive, ste E                                   10/2019                                                    Unsecured loan repayments
               El Paso, TX 79907
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other


       3.2.
               Atlanta Dental                                              9/2019;                            $7,372.00               Secured debt
               1650 Satellite Blvd                                         10/2019;                                                   Unsecured loan repayments
               Duluth, GA 30097                                            11/2019
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other


       3.3.
               Aquina                                                                                       $34,341.00                Secured debt
               3300 Highlands Parkway #290                                                                                            Unsecured loan repayments
               Smyrna, GA 30082
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other


       3.4.
               Kids Crowns                                                                                    $9,023.00               Secured debt
                                                                                                                                      Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other


       3.5.
               Axos Bank                                                                                    $32,194.00                Secured debt
               9205 W. Russell Rd, Ste 400                                                                                            Unsecured loan repayments
               Las Vegas, NV 89148
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

       Creditor's name and address                               Describe of the Property                                      Date                   Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 2
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 Debtor       My Kidz Dentist PC                                                                        Case number (if known)




           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                Amount
                                                                                                                               taken
       Avesis                                                    Withholding medicaid payments                                 August 2018             $360,000.00
       Steven Maniloff                                           Last 4 digits of account number:                              to date
       1735 Market Street
       Philadelphia, PA 19103


 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case            Court or agency's name and                Status of case
               Case number                                                                 address
       7.1.    Viva Capital Funding LLC vs                       Contract/Contemp          Superior Court of Coweta                     Pending
               My Kidz Dentist PC et al                          t                         County Georgia                               On appeal
               SUV2019001345-MB                                                            72 Greenville Street
                                                                                                                                        Concluded
                                                                                           Newnan, GA 30263

       7.2.    Opportunity Fund Community                        Contract                  Superior Court of Santa                      Pending
               Development vs My Kidz                                                      Clara California                             On appeal
               Dentist                                                                     191 North First Street
                                                                                                                                        Concluded
               19CV358957                                                                  San Jose, CA 95113

       7.3.    Community Bank of Pickens                         Foreclosure of            State court of Coweta                        Pending
               County vs My Kidz Dentist et                      Personal Property         County GA                                    On appeal
               al                                                                          Coweta County Justice
                                                                                                                                        Concluded
               19SV0522E                                                                   Center
                                                                                           72 Greenville Street
                                                                                           Newnan, GA 30263


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions               Dates given                             Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None




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       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss         Value of property
       how the loss occurred                                                                                                                                   lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates               Total amount or
                the transfer?                                                                                                                               value
                Address
       11.1.    The Falcone Law Firm, P.C.
                363 Lawrence Street
                Marietta, GA 30060                                   Attorney Fees                                             12/2019                 $20,000.00

                Email or website address
                attorneys@falconefirm.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                   Dates transfers           Total amount or
                                                                                                                         were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                     Date transfer          Total amount or
               Address                                           payments received or debts paid in exchange                was made                        value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                      Dates of occupancy
                                                                                                                             From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
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 Debtor        My Kidz Dentist PC                                                                       Case number (if known)



    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services        If debtor provides meals
                                                                 the debtor provides                                                 and housing, number of
                                                                                                                                     patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

                  address, phone numbers, insurance information, social secuity
                  numbers
                  Does the debtor have a privacy policy about that information?
                    No
                      Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was             Last balance
               Address                                           account number           instrument                  closed, sold,            before closing or
                                                                                                                      moved, or                         transfer
                                                                                                                      transferred
       18.1.     Bank of America                                 XXXX-                       Checking                 11/2/2019                             $0.00
                                                                                             Savings
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other

       18.2.     Chase Bank                                      XXXX-                       Checking                 2018                                  $0.00
                                                                                             Savings
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.




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          None

       Depository institution name and address                        Names of anyone with                Description of the contents          Do you still
                                                                      access to it                                                             have it?
                                                                      Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                      Names of anyone with                Description of the contents          Do you still
                                                                      access to it                                                             have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                     Court or agency name and            Nature of the case                   Status of case
       Case number                                                    address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known      Date of notice
                                                                      address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known      Date of notice
                                                                      address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

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25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       VAAS Professionals                                                                                                         2209-2016
                    325 Edgewood Ave
                    Atlanta, GA
       26a.2.       Etienne Business Solutions LLC                                                                                             2016-2019
                    2004 Eastview Parkway, Ste 102
                    Conyers, GA 30013
       26a.3.       Frontline Tax Accounting Services                                                                                          2019- Present
                    2470 Windy Hill Road
                    Marietta, GA 30067

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.




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               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory
       27.1 Lona Bibbs
       .                                                                                    11/2019                  500,000

               Name and address of the person who has possession of
               inventory records
               Lona Bibbs
               1741 Newnan Crossing Blvd
               Newnan, GA 30265


28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Lona Bibbs                                     151 Southgate Blvd                                  President                             100
                                                      Stockbridge, GA 30281



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value
       30.1 Lona Bibbs
       .    193 Stanley Road
               Fayetteville, GA 30214                            $81,000.00                                              past year          salary

               Relationship to debtor
               President


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation



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 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         December 13, 2019

 /s/ Dr. Lona Bibbs-Walker                                              Dr. Lona Bibbs-Walker
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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                                                               United States Bankruptcy Court
                                                      Northern District of Georgia (ALL DIVISIONS)
 In re       My Kidz Dentist PC                                                                              Case No.
                                                                                   Debtor(s)                 Chapter        11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                       $                    20,000.00 (filing fee included)
             Prior to the filing of this statement I have received             $                  20,000.00 ( Filing fee included)
             Balance Due                                                       $                                                  0.00

2.     $ 1717.00          of the filing fee has been paid.

3.     The source of the compensation paid to me was:
                  Debtor                  Other (specify):

4.     The source of compensation to be paid to me is:
                  Debtor                  Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]

                  All fees will be billed to the Client or Bankruptcy Estate at the rate of $350.00 per hour in increments of 1/10th of an hour, or any such
                  other amount as determined by the court. Associate attorneys will be billed at $200.00 per hour, paralegals at $150.00 per hour and
                  administrative assistants at $50.00 per hour. All rates are billed in increments of 1/10th of an hour with minimum of 2/10th per hour
                  for any task.

                  All fees are subject to court approval and any fees incurred after the filing of client's petition will not be dispersed until such
                  agreement is approved by the court. In no case will client be billed directly nor will any additional fees be collected from client unless
                  expressly authorized by the court.

                  Attorney may send bills to client from time to time to keep client informed of time incurred. Attorney shall not seek any additional
                  compensation directly from client unless expressly authorized by the Court.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:




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                                                               Debtor(s)

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                             (Continuation Sheet)
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     December 13, 2019                                                          /s/ Ian M. Falcone
     Date                                                                       Ian M. Falcone 254470
                                                                                Signature of Attorney
                                                                                The Falcone Law Firm, P.C.
                                                                                363 Lawrence Street
                                                                                Marietta, GA 30060
                                                                                (770) 426-9359 Fax: (770) 426-8968
                                                                                attorneys@falconefirm.com
                                                                                Name of law firm




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                                                      Northern District of Georgia (ALL DIVISIONS)
 In re      My Kidz Dentist PC                                                                                        Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                          LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder

 -NONE-



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the of the corporation named as the debtor in this case, declare under penalty of perjury that I have read the
foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date December 13, 2019                                                      Signature /s/ Dr. Lona Bibbs-Walker
                                                                                            Dr. Lona Bibbs-Walker

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                                                   Debtor(s)        Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to the best

of my knowledge.




 Date:       December 13, 2019                                          /s/ Dr. Lona Bibbs-Walker
                                                                        Dr. Lona Bibbs-Walker/
                                                                        Signer/Title




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                        ADT Protection 1
                        830 Franklin Court, Ste A
                        Marietta, GA 30067



                        Airgas
                        2015 Vaughn Road, Bldg 400
                        Kennesaw, GA 30144



                        Alfa Advance LLC
                        31-10 37th Ave, Ste 202
                        Long Island City, NY 11109



                        Alliance Orthodontics
                        1741 Newnan Crossing
                        Newnan, GA 30265



                        Ally Financial
                        PO Box 380901
                        Minneapolis, MN 55438



                        Ansafone
                        101 NE 2nd Street
                        Ocala, FL 34470



                        Atlanta Dental
                        1650 Satellite Blvd
                        Duluth, GA 30097



                        Avesis
                        c/o Steve Maniloff/Montgomery
                        1735 Market Street
                        Philadelphia, PA 19103



                        Axos Bank
                        9205 W. Russell Rd, Ste 400
                        Las Vegas, NV 89148
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                    Balboa Capital
                    PO BOx 15270
                    Irvine, CA 92623



                    Bank of America
                    PO Box 982234
                    El Paso, TX 79998



                    Blalock Heating and Air
                    111 Church Alley
                    Brooks, GA 30205



                    CapFlow
                    2232 Brigham Street #5
                    Brooklyn, NY 11229



                    Capitol Services
                    PO Box 1831
                    Austin, TX 78767



                    Chase Ink Business Card
                    Card Services
                    PO Box 15298
                    Wilmington, DE 19850



                    Cheng Crowns
                    PO box 5001
                    Exton, PA 19341



                    Clark Pest Remedy
                    3548 Jodeco Rd
                    McDonough, GA 30253



                    Communtiy Bank of Pickens Co
                    15 Sammy McGhee Blvd
                    Jasper, GA 30143
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                    Corporation Service Company
                    as representative
                    PO Box 2576
                    Springfield, IL 62708



                    CSC
                    801 Adial Stevenson Drive
                    Springfield, IL 62703



                    CT Corporation systems
                    as representative
                    330 N. Brand Blvd, Ste 700
                    Glendale, CA 91203



                    CT Lien Solutions
                    PO Box 29071
                    Glendale, CA 91209-9071



                    Darby Dental Supply
                    300 Jericho Quadrangle Ll
                    Jericho, NY 11753



                    De Lage Landen Financial
                    111 Old Eagle School Rd
                    Wayne, PA 19087



                    Dell Financial Services LLC
                    MS-PS2DF-23 One Dell Way
                    Round Rock, TX 78682



                    Financial Pacific Leasing Inc
                    PO Box 4568
                    Federal Way, WA 98063



                    General Electric Capital Corp
                    1 Beacon Street
                    Boston, MA 02108-3107
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                    Hammond Heating & Air
                    3412 Galilee Rd
                    Jacksonville, FL 32207



                    Hayden Kepner, Esq.
                    Scroggins & Williamson
                    4401 Northside Pkwy, Ste 450
                    Atlanta, GA 30327



                    Home Depot
                    PO Box 182676
                    Columbus, OH 43218



                    IKUKA Capital
                    162 Elmora Ave
                    Elizabeth, NJ 07202



                    Innovative Energy Solutions
                    575 Anton Blvd, 12th Floor
                    Costa Mesa, CA 92626-7169



                    Jeffrey Schaefer
                    Lease Direct
                    PO BOx 6980
                    Wayne, PA 19087



                    Kitchens Kelley Gaynes PC
                    Glenridge Highlands One
                    5555 Glenridge Conn, Ste 800
                    Atlanta, GA 30342



                    LEAF Capital Funding LLC
                    1 Commerce Square
                    2005 Market Street,
                    Philadelphia, PA 19103



                    Legend Advance Funding II
                    767 3rd Ave, 32 Floor
                    New York, NY 10017
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                    Lien Solutions
                    PO Box 29071
                    Glendale, CA 91209-9071



                    Lift Forward Inc
                    180 Maiden Lane, 10th Floor
                    New York, NY 10038



                    LiftForward, Inc
                    261 Madison Ave
                    New York, NY 10016



                    Live Oak Bank
                    1741 Tiburon Drive
                    Wilmington, NC 28403



                    Lona Bibbs-Walker
                    193 Stanley Road
                    Fayetteville, GA 30214



                    Lynn Carroll, Esq.
                    Building 1, Ste 400
                    101 Village Parkway
                    Marietta, GA 30067



                    Mark Good, Esq.
                    7415 Elgeberry Street
                    Suite 102
                    Gilroy, CA 95020



                    MCA Recovery LLC
                    Zachary Chsin
                    17 State Street, Ste 4000
                    New York, NY 10004



                    Melissa Lommel
                    500 13th Street
                    PO BOx 750
                    Albany, MN 56307
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                    Mike Marshall
                    Viva Capital Funding
                    11427 Rojas Drive, ste A
                    El Paso, TX 79936



                    Mr. Advance Capital LLC
                    116 Nassau Street, Ste 804
                    New York, NY 10038



                    My Dental Career & Staffing LL
                    193 Stanley Rd
                    Fayetteville, GA 30214



                    My Kidz Dentist
                    Of Fayetteville
                    193 Stanley Rd
                    Fayetteville, GA 30214



                    My Kidz Dentist
                    of Carrollton LLC
                    1124 N. Park Street, Ste 202
                    Carrollton, GA 30117



                    Newnan Associates LLC




                    NuLink
                    2-A Jackosn Street
                    Newnan, GA 30263



                    Opportunity Fund Community Dev
                    111 W. Saint John Street
                    San Jose, CA 95113-1113



                    Ora Labs
                    18685 E. Plaza Drive
                    Parker, CO 80134
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                    Patterson Dental
                    1775 W. Oak Parkway #500
                    Marietta, GA 30062



                    Pawnee Leasing Corp
                    700 Centre Ave
                    Fort Collins, CO 80528



                    Payroll Funding Company
                    10785 W. Twain Ave, Ste 200
                    Las Vegas, NV 89135



                    PW Funding LLC
                    3300 Highlands Pkwy, Ste 290
                    Smyrna, GA 30082



                    Quench Water
                    630 Allendale Rd, Ste 200
                    King of Prussia, PA 19406



                    RPM Rewards LLC
                    340 Youngs Cir
                    Fayetteville, GA 30215



                    Stearns Bank NA
                    500 13th Street
                    Albany, MN 56307



                    Total Merchant Resources
                    377 Hoes Lane , Ste 240
                    Piscataway, NJ 08854



                    United Health Care
                    All Savers
                    PO Box 31375
                    Salt Lake City, UT 84131
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                    Viva Healthcare Funding LLC
                    8981 Castner Drive, ste E
                    El Paso, TX 79907



                    Wells Fargo Dealer Services
                    PO Box 997517
                    Sacramento, CA 95899



                    World Business Lending
                    101 Hudson Street, 33rd Floor
                    Jersey City, NJ 07302
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                                                               United States Bankruptcy Court
                                                      Northern District of Georgia (ALL DIVISIONS)
 In re      My Kidz Dentist PC                                                                             Case No.
                                                                                   Debtor(s)               Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for My Kidz Dentist PC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 December 13, 2019                                                     /s/ Ian M. Falcone
 Date                                                                  Ian M. Falcone 254470
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for My Kidz Dentist PC
                                                                       The Falcone Law Firm, P.C.
                                                                       363 Lawrence Street
                                                                       Marietta, GA 30060
                                                                       (770) 426-9359 Fax:(770) 426-8968
                                                                       attorneys@falconefirm.com




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